
But by the Court.
The law directs the creation of two boards of managers ; the one to assess the owners of the adjoining lands, remove the reefs, and clear the river of obstructions, existing at the time of the passing of the act. The other, to see that the brush &amp;c., which should after-*172Wards be annually brought down and lodged in the was removed. The first board consists of three members; the last, of not less than three, nor more than seven. It is the duty of the last, to warn the land holders to remove the obstructions; and if their warning be not attended to before the 25th of June, annually, then to hire some one to do the work, and sue the landholder for the value of it. Such is the foundation of the present suit; and this being so, it is brought by the proper board of managers.
Judgment affirmed.
